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                   SENTENCING SUMMARY CHART                                                    USPO
         [ __
           ✔ AND GOVERNMENT MOTION UNDER USSG § 3E1.1(b)]                                      AUSA     ✔
                   Sentencing Date: November 12, 2021                                            DEF

Defendant=s Name: ABRAHAM PENA                                              Docket No.: 19-CR-01941-JLS

Attorney=s Name: AUSA Lyndzie M. Carter                                     Phone No.: (619) 546-8780

Guideline Manual Used:             November 1, 2018                       Agree with USPO Calc.:       Yes

Base Offense Levels: (Drug Quantity if Applicable:) USSG § 2D1.1(c)(1)                                  38
22.1 kgs methamphetamine (actual)
Specific Offense Characteristics: USSG §
USSG § 2D1.1(b)(5) Importation of Methamphetamine                                                       +2
2D1.1(b)(18) and 5C1.2 "Safety Valve"                                                                  n/a*
Victim Related Adjustment:

Adjustment for Role in the Offense:                                                                    n/a**

Adjustment for Obstruction of Justice:

Adjustment for Reckless Endangerment During Flight:

Adjusted Offense Level:                                                                                 40
(   Combined (Mult. Counts)        Career Off.      Armed Career Crim.)

Adjustment for Acceptance of Responsibility:[            ✔   Gov. Motion Under USSG § 3E1.1(b)]         -3

Total Offense Level:                                                                                    37

Criminal History Score:                                                                                  2

Criminal History Category:                                                                              II
(   Career Offender        Armed Career Criminal)

Guideline Range:                                                                       from     235 mths
(Range limited by:    ✔   minimum mand.     statutory maximum                             to    293 mths
Departures:
USSG § 5K2.0 Combo of Factors/Full Appellate Waiver                                                     -2


5HVXOWLQJ*XLGHOLQH5DQJH$GMXVWHG2IIHQVH/HYHO         35                 from 188 mths
5(&200(1'$7,216 120 months' custody,* 5 yr SR, $100 S/A                        to 235 mths
*Defendant has yet to met all the SV requirements as of this filing. **The United States does
not recommend minor role as Defendant has not yet met his burden. **Based on 18 U.S.C. §
3553(a) factors and consistent with the -2 for full appellate waiver, 120 months is sufficient but
not greater than necessary. Approved by BJK: 11.5.21
